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                                 132812


                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


__________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS                      Case No. 1:14-ml-2570-RLY-TAB
MARKETING, SALES PRACTICES AND                                                MDL No. 2570
PRODUCTS LIABILITY LITIGATION
__________________________________________

This Document Relates to:

Leonard Holling

Civil Case # 1:22-cv-06787-RLY-TAB
__________________________________________


               ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO FILE
                 SECOND AMENDED SHORT FORM COMPLAINT

       ON THIS DAY came for consideration Plaintiff Leonard Holling’s Motion to Amend

and Leave to File a Second Amended Short Form Complaint. Having considered the Motion, the

Court concludes the Motion [Filing No. 22499] shall be granted.

       IT IS THEREFORE ORDERED that Plaintiff's Second Amended Short Form

Complaint is hereby deemed filed as of the date of this order.


       Date: 8/10/2022
                                              _______________________________
                                               Tim A. Baker
                                               United States Magistrate Judge
                                               Southern District of Indiana




Distribution to all registered counsel of record via CM/ECF.
